     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 1 of 16 Page ID #:418



 1 JENNER & BLOCK LLP
 2 Dean N. Panos (pro hac vice)
   DPanos@jenner.com
 3 353 North Clark Street
 4 Chicago, IL 60654-3456
   Telephone: +1 312 222 9350
 5 Facsimile: +1 312 527 0484
 6
      JENNER & BLOCK LLP
 7    Kate T. Spelman (SBN 269109)
 8    KSpelman@jenner.com
      Alexander M. Smith (SBN 295187)
 9    ASmith@jenner.com
10    515 South Flower Street, Suite 3300
      Los Angeles, CA 90071-2246
11    Telephone: +1 213 239 5100
12    Facsimile: +1 213 239 5199

13 Attorneys for Defendant
14 Burt’s Bees, Inc.
15                            UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17
18 PERRY BRUNO, individually and on               Case No. 2:22-cv-02306-SPG-KS
19 behalf of other members of the general
   public similarly situated,                     STIPULATED PROTECTIVE ORDER
20
                              Plaintiff,
21
22       v.

23 BURT’S BEES, INC.,
24                            Defendant.
25
26
27
28

                                    STIPULATED PROTECTIVE ORDER
                                     CASE NO. 2:22-CV-02306-SPG-KS
     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 2 of 16 Page ID #:419



 1 1.       A.    PURPOSES AND LIMITATIONS
 2          Discovery in this action is likely to involve production of confidential, proprietary,
 3 or private information for which special protection from public disclosure and from use for
 4 any purpose other than prosecuting this litigation may be warranted. Accordingly, the
 5 parties hereby stipulate to and petition the Court to enter the following Stipulated Protective
 6 Order. The parties acknowledge that this Order does not confer blanket protections on all
 7 disclosures or responses to discovery and that the protection it affords from public
 8 disclosure and use extends only to the limited information or items that are entitled to
 9 confidential treatment under the applicable legal principles.            The parties further
10 acknowledge, as set forth in Section 12.3, below, that this Stipulated Protective Order does
11 not entitle them to file confidential information under seal; Civil Local Rule 79-5 sets forth
12 the procedures that must be followed and the standards that will be applied when a party
13 seeks permission from the court to file material under seal.
14          B.    GOOD CAUSE STATEMENT
15          This action is likely to involve the disclosure of commercially sensitive and
16 confidential information relating to 47 separate lip care products manufactured by
17 Defendant Burt’s Bees, Inc. (“Burt’s Bees”), for which special protection from public
18 disclosure and from use for any purpose other than prosecution of this action is warranted.
19 Such confidential and proprietary materials and information consist of, among other things,
20 highly confidential chemical formulations and manufacturing information for the products,
21 confidential financial information related to sales of the products, confidential information
22 related to the research and development of the products, and confidential information
23 relating to the marketing and advertising of the products. This information is otherwise
24 generally unavailable to the public, and it may be privileged or otherwise protected from
25 disclosure under state or federal statutes, court rules, case decisions, or common law.
26          Accordingly, to expedite the flow of information, to facilitate the prompt resolution
27 of disputes over confidentiality of discovery materials, to adequately protect information
28 the parties are entitled to keep confidential, to ensure that the parties are permitted

                                                     1
                                     STIPULATED PROTECTIVE ORDER
                                      CASE NO. 2:22-CV-02306-SPG-KS
     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 3 of 16 Page ID #:420



 1 reasonable necessary uses of such material in preparation for and in the conduct of trial, to
 2 address their handling at the end of the litigation, and serve the ends of justice, a protective
 3 order for such information is justified in this matter. It is the parties’ intent that information
 4 will not be designated as confidential for tactical reasons and that nothing be so designated
 5 without a good faith belief that it has been maintained in a confidential, non-public manner,
 6 and there is good cause why it should not be part of the public record of this case.
 7 2.       DEFINITIONS
 8          2.1.   Action: this pending federal lawsuit, Bruno v. Burt’s Bees, Inc., Case No. 2:22-
 9 cv-2306-SPG-KS.
10          2.2.   Challenging Party: a Party or Non-Party that challenges the designation of
11 information or items under this Order.
12          2.3.   “CONFIDENTIAL” Information or Items: information (regardless of how it
13 is generated, stored or maintained) or tangible things that qualify for protection under
14 Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause Statement.
15          2.4.   Counsel: Outside Counsel of Record and House Counsel (as well as their
16 support staff).
17          2.5.   Designating Party: a Party or Non-Party that designates information or items
18 that it produces in disclosures or in responses to discovery as "CONFIDENTIAL."
19          2.6.   Disclosure or Discovery Material: all items or information, regardless of the
20 medium or manner in which it is generated, stored, or maintained (including, among other
21 things, testimony, transcripts, and tangible things), that are produced or generated in
22 disclosures or responses to discovery in this matter.
23          2.7.   Expert: a person with specialized knowledge or experience in a matter
24 pertinent to the litigation who has been retained by a Party or its counsel to serve as an
25 expert witness or as a consultant in this Action.
26          2.8    “HIGHLY CONFIDENTIAL” Information or Items: extremely sensitive
27 “CONFIDENTIAL Information or Items,” disclosure of which to another Party or Non-
28
                                                     2
                                      STIPULATED PROTECTIVE ORDER
                                       CASE NO. 2:22-CV-02306-SPG-KS
     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 4 of 16 Page ID #:421



 1 Party would create a substantial risk of serious harm that could not be avoided by less
 2 restrictive means.
 3          2.9   House Counsel: attorneys who are employees of a party to this Action. House
 4 Counsel does not include Outside Counsel of Record or any other outside counsel.
 5          2.10 Non-Party: any natural person, partnership, corporation, association, or other
 6 legal entity not named as a Party to this action.
 7          2.11 Outside Counsel of Record: attorneys who are not employees of a party to this
 8 Action but are retained to represent or advise a party to this Action and have appeared in
 9 this Action on behalf of that party or are affiliated with a law firm which has appeared on
10 behalf of that party, and includes support staff
11          2.12 Party: any party to this Action, including all of its officers, directors,
12 employees, consultants, retained experts, and Outside Counsel of Record (and their support
13 staffs).
14          2.13 Producing Party: a Party or Non-Party that produces Disclosure or Discovery
15 Material in this Action.
16          2.14 Professional Vendors: persons or entities that provide litigation support
17 services (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations,
18 and organizing, storing, or retrieving data in any form or medium) and their employees and
19 subcontractors.
20          2.15 Protected Material: any Disclosure or Discovery Material that is designated as
21 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”
22          2.16 Receiving Party:    a Party that receives Disclosure or Discovery Material from
23 a Producing Party.
24 3.       SCOPE
25          The protections conferred by this Stipulation and Order cover not only Protected
26 Material (as defined above), but also (1) any information copied or extracted from Protected
27 Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3)
28
                                                   3
                                    STIPULATED PROTECTIVE ORDER
                                     CASE NO. 2:22-CV-02306-SPG-KS
     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 5 of 16 Page ID #:422



 1 any testimony, conversations, or presentations by Parties or their Counsel that might reveal
 2 Protected Material.
 3          Any use of Protected Material at trial shall be governed by the orders of the trial
 4 judge. This Order does not govern the use of Protected Material at trial.
 5 4.       DURATION
 6          Even after final disposition of this litigation, the confidentiality obligations imposed
 7 by this Order shall remain in effect until a Designating Party agrees otherwise in writing or
 8 a court order otherwise directs. Final disposition shall be deemed to be the later of (1)
 9 dismissal of all claims and defenses in this Action, with or without prejudice; and (2) final
10 judgment herein after the completion and exhaustion of all appeals, rehearings, remands,
11 trials, or reviews of this Action, including the time limits for filing any motions or
12 applications for extension of time pursuant to applicable law.
13 5.       DESIGNATING PROTECTED MATERIAL
14          5.1   Exercise of Restraint and Care in Designating Material for Protection.
15          Each Party or Non-Party that designates information or items for protection under
16 this Order must take care to limit any such designation to specific material that qualifies
17 under the appropriate standards. The Designating Party must designate for protection only
18 those parts of material, documents, items, or oral or written communications that qualify so
19 that other portions of the material, documents, items, or communications for which
20 protection is not warranted are not swept unjustifiably within the ambit of this Order.
21          Mass, indiscriminate, or routinized designations are prohibited. Designations that are
22 shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
23 unnecessarily encumber the case development process or to impose unnecessary expenses
24 and burdens on other parties) may expose the Designating Party to sanctions.
25          If it comes to a Designating Party's attention that information or items that it
26 designated for protection do not qualify for protection, that Designating Party must
27 promptly notify all other Parties that it is withdrawing the inapplicable designation.
28
                                                     4
                                      STIPULATED PROTECTIVE ORDER
                                       CASE NO. 2:22-CV-02306-SPG-KS
     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 6 of 16 Page ID #:423



 1          5.2   Manner and Timing of Designations.
 2          Except as otherwise provided in this Order (see, e.g., second paragraph of section
 3 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery Material that
 4 qualifies for protection under this Order must be clearly so designated before the material
 5 is disclosed or produced.
 6          Designation in conformity with this Order requires:
 7          (a) for information in documentary form (e.g., paper or electronic documents, but
 8 excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing
 9 Party affix at a minimum, the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”
10 (hereinafter “CONFIDENTIAL legend”), to each page that contains protected material. If
11 only a portion or portions of the material on a page qualifies for protection, the Producing
12 Party also must clearly identify the protected portion(s) (e.g., by making appropriate
13 markings in the margins). A Party or Non-Party that makes original documents available
14 for inspection need not designate them for protection until after the inspecting Party has
15 indicated which documents it would like copied and produced. During the inspection and
16 before the designation, all of the material made available for inspection shall be deemed
17 "CONFIDENTIAL" or “HIGHLY CONFIDENTIAL.” After the inspecting Party has
18 identified the documents it wants copied and produced, the Producing Party must determine
19 which documents, or portions thereof, qualify for protection under this Order. Then, before
20 producing the specified documents, the Producing Party must affix the "CONFIDENTIAL
21 legend" to each page that contains Protected Material. If only a portion or portions of the
22 material on a page qualifies for protection, the Producing Party also must clearly identify
23 the protected portion(s) (e.g., by making appropriate markings in the margins).
24          (b)   for testimony given in depositions that the Designating Party identify the
25 Disclosure or Discovery Material on the record, before the close of the deposition all
26 protected testimony.
27          (c)   for information produced in some form other than documentary and for any
28 other tangible items, that the Producing Party affix in a prominent place on the exterior of
                                                    5
                                     STIPULATED PROTECTIVE ORDER
                                      CASE NO. 2:22-CV-02306-SPG-KS
     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 7 of 16 Page ID #:424



 1 the container or containers in which the information is stored a “CONFIDENTIAL legend.”
 2 If only a portion or portions of the information warrants protection, the Producing Party, to
 3 the extent practicable, shall identify the protected portion(s).
 4          5.3   Inadvertent Failures to Designate.
 5          If timely corrected, an inadvertent failure to designate qualified information or items
 6 does not, standing alone, waive the Designating Party's right to secure protection under this
 7 Order for such material. Upon timely correction of a designation, the Receiving Party must
 8 make reasonable efforts to assure that the material is treated in accordance with the
 9 provisions of this Order.
10 6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
11          6.1   Timing of Challenges. Any Party or Non-Party may challenge a designation
12 of confidentiality at any time that is consistent with the Court's Scheduling Order.
13          6.2   Meet and Confer. The Challenging Party shall initiate the dispute resolution
14 process under Local Rule 37.1 et seq.
15          6.3   The burden of persuasion in any such challenge proceeding shall be on the
16 Designating Party. Frivolous challenges, and those made for an improper purpose (e.g., to
17 harass or impose unnecessary expenses and burdens on other parties) may expose the
18 Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn the
19 confidentiality designation, all parties shall continue to afford the material in question the
20 level of protection to which it is entitled under the Producing Party's designation until the
21 Court rules on the challenge.
22 7        ACCESS TO AND USE OF PROTECTED MATERIAL
23          7.1   Basic Principles. A Receiving Party may use Protected Material that is
24 disclosed or produced by another Party or by a Non-Party in connection with this Action
25 only for prosecuting, defending, or attempting to settle this Action. Such Protected Material
26 may be disclosed only to the categories of persons and under the conditions described in
27 this Order. When the Action has been terminated, a Receiving Party must comply with the
28 provisions of section 13 below (FINAL DISPOSITION). Protected Material must be stored
                                                     6
                                      STIPULATED PROTECTIVE ORDER
                                       CASE NO. 2:22-CV-02306-SPG-KS
     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 8 of 16 Page ID #:425



 1 and maintained by a Receiving Party at a location and in a secure manner that ensures that
 2 access is limited to the persons authorized under this Order.
 3          7.2   Disclosure of "CONFIDENTIAL" Information or Items. Unless otherwise
 4 ordered by the court or permitted in writing by the Designating Party, a Receiving Party
 5 may disclose any information or item designated "CONFIDENTIAL" only to:
 6          (a) the Receiving Party's Outside Counsel of Record in this Action, as well as
 7 employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose
 8 the information for this Action;
 9          (b)   the officers, directors, and employees (including House Counsel) of the
10 Receiving Party to whom disclosure is reasonably necessary for this Action;
11          (c)   Experts (as defined in this Order) of the Receiving Party to whom disclosure
12 is reasonably necessary for this Action and who have signed the “Acknowledgment and
13 Agreement to Be Bound” (Exhibit A);
14          (d)   the court and its personnel;
15          (e)   court reporters and their staff;
16          (f)   professional jury or trial consultants, mock jurors, and Professional Vendors
17 to whom disclosure is reasonably necessary for this Action and who have signed the
18 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
19          (g)   the author or recipient of a document containing the information or a custodian
20 or other person who otherwise possessed or knew the information;
21          (h)   during their depositions, witnesses ,and attorneys for witnesses, in the Action
22 to whom disclosure is reasonably necessary provided: (1) the deposing party requests that
23 the witness sign the form attached as Exhibit 1 hereto; and (2) they will not be permitted to
24 keep any confidential information unless they sign the “Acknowledgment and Agreement
25 to Be Bound"”(Exhibit A), unless otherwise agreed by the Designating Party or ordered by
26 the court. Pages of transcribed deposition testimony or exhibits to depositions that reveal
27 Protected Material may be separately bound by the court reporter and may not be disclosed
28 to anyone except as permitted under this Stipulated Protective Order; and
                                                     7
                                      STIPULATED PROTECTIVE ORDER
                                       CASE NO. 2:22-CV-02306-SPG-KS
     Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 9 of 16 Page ID #:426



 1          (i)   any mediator or settlement officer, and their supporting personnel, mutually
 2 agreed upon by any of the parties engaged in settlement discussions.
 3          7.3   Disclosure of “HIGHLY CONFIDENTIAL” Information or Items. Unless
 4 otherwise ordered by the court or permitted in writing by the Designating Party, a Receiving
 5 Party may disclose any information or item designated “HIGHLY CONFIDENTIAL” only
 6 to:
 7          (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
 8 employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose
 9 the information for this Action;
10          (b) Experts (as defined in this Order) of the Receiving Party to whom disclosure is
11 reasonably necessary for this Action and who have signed the “Acknowledgment and
12 Agreement to Be Bound” (Exhibit A);
13          (c) the court and its personnel;
14          (d) court reporters and their staff;
15          (e) professional jury or trial consultants, mock jurors, and Professional Vendors to
16 whom disclosure is reasonably necessary for this Action and who have signed the
17 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
18          (f) the author or recipient of a document containing the information or a custodian or
19 other person who otherwise possessed or knew the information;
20           (g) any mediator or settlement officer, and their supporting personnel, mutually
21 agreed upon by any of the parties engaged in settlement discussions.
22 8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
23          OTHER LITIGATION
24          If a Party is served with a subpoena or a court order issued in other litigation that
25 compels disclosure of any information or items designated in this Action as
26 "CONFIDENTIAL" or “HIGHLY CONFIDENTIAL,” that Party must:
27          (a)   promptly notify in writing the Designating Party. Such notification shall
28 include a copy of the subpoena or court order;
                                                      8
                                       STIPULATED PROTECTIVE ORDER
                                        CASE NO. 2:22-CV-02306-SPG-KS
  Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 10 of 16 Page ID #:427



 1         (b)   promptly notify in writing the party who caused the subpoena or order to issue
 2 in the other litigation that some or all of the material covered by the subpoena or order is
 3 subject to this Protective Order. Such notification shall include a copy of this Stipulated
 4 Protective Order; and
 5         (c)   cooperate with respect to all reasonable procedures sought to be pursued by
 6 the Designating Party whose Protected Material may be affected.
 7         If the Designating Party timely seeks a protective order, the Party served with the
 8 subpoena or court order shall not produce any information designated in this action as
 9 "CONFIDENTIAL" or “HIGHLY CONFIDENTIAL” before a determination by the court
10 from which the subpoena or order issued, unless the Party has obtained the Designating
11 Party's permission. The Designating Party shall bear the burden and expense of seeking
12 protection in that court of its confidential material and nothing in these provisions should
13 be construed as authorizing or encouraging a Receiving Party in this Action to disobey a
14 lawful directive from another court.
15 9.      A NON-PARTY'S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
16         THIS LITIGATION
17         (a)   The terms of this Order are applicable to information produced by a Non-Party
18 in this Action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”
19 Such information produced by Non-Parties in connection with this litigation is protected by
20 the remedies and relief provided by this Order. Nothing in these provisions should be
21 construed as prohibiting a Non-Party from seeking additional protections.
22         (b)   In the event that a Party is required, by a valid discovery request, to produce a
23 Non-Party's confidential information in its possession, and the Party is subject to an
24 agreement with the Non-Party not to produce the Non-Party's confidential information, then
25 the Party shall:
26               (1)    promptly notify in writing the Requesting Party and the Non-Party that
27 some or all of the information requested is subject to a confidentiality agreement with a
28 Non-Party;
                                                   9
                                    STIPULATED PROTECTIVE ORDER
                                     CASE NO. 2:22-CV-02306-SPG-KS
  Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 11 of 16 Page ID #:428



 1               (2)      promptly provide the Non-Party with a copy of the Stipulated Protective
 2 Order in this Action, the relevant discovery request(s), and a reasonably specific description
 3 of the information requested; and
 4               (3)      make the information requested available for inspection by the Non-
 5 Party, if requested.
 6         (c)   If the Non-Party fails to seek a protective order from this court within 14 days
 7 of receiving the notice and accompanying information, the Receiving Party may produce
 8 the Non-Party's confidential information responsive to the discovery request. If the Non-
 9 Party timely seeks a protective order, the Receiving Party shall not produce any information
10 in its possession or control that is subject to the confidentiality agreement with the Non-
11 Party before a determination by the court. Absent a court order to the contrary, the Non-
12 Party shall bear the burden and expense of seeking protection in this court of its Protected
13 Material.
14 10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
15         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
16 Protected Material to any person or in any circumstance not authorized under this Stipulated
17 Protective Order, the Receiving Party must immediately (a) notify in writing the
18 Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
19 unauthorized copies of the Protected Material, (c) inform the person or persons to whom
20 unauthorized disclosures were made of all the terms of this Order, and (d) request such
21 person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is
22 attached hereto as Exhibit A.
23 11.     INADVERTENT           PRODUCTION          OF    PRIVILEGED       OR    OTHERWISE
24         PROTECTED MATERIAL
25         When a Producing Party gives notice to Receiving Parties that certain inadvertently
26 produced material is subject to a claim of privilege or other protection, the obligations of
27 the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
28 This provision is not intended to modify whatever procedure may be established in an e-
                                                     10
                                      STIPULATED PROTECTIVE ORDER
                                       CASE NO. 2:22-CV-02306-SPG-KS
  Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 12 of 16 Page ID #:429



 1 discovery order that provides for production without prior privilege review. This Order
 2 shall be interpreted to provide the maximum protection allowed by Federal Rule of
 3 Evidence 502(b).
 4 12.     MISCELLANEOUS
 5         12.1 Right to Further Relief. Nothing in this Order abridges the right of any person
 6 to seek its modification by the Court in the future.
 7         12.2 Right to Assert Other Objections. By stipulating to the entry of this Protective
 8 Order no Party waives any right it otherwise would have to object to disclosing or producing
 9 any information or item on any ground not addressed in this Stipulated Protective Order.
10 Similarly, no Party waives any right to object on any ground to use in evidence of any of
11 the material covered by this Protective Order.
12         12.3 Filing Protected Material. A Party that seeks to file under seal any Protected
13 Material must comply with Civil Local Rule 79-5. Protected Material may only be filed
14 under seal pursuant to a court order authorizing the sealing of the specific Protected Material
15 at issue. If a Party's request to file Protected Material under seal is denied by the court, then
16 the Receiving Party may file the information in the public record unless otherwise instructed
17 by the court.
18 13.     FINAL DISPOSITION
19         After the final disposition of this Action, as defined in paragraph 4, within 60 days
20 of a written request by the Designating Party, each Receiving Party must return all Protected
21 Material to the Producing Party or destroy such material. As used in this subdivision, “all
22 Protected Material” includes all copies, abstracts, compilations, summaries, and any other
23 format reproducing or capturing any of the Protected Material. Whether the Protected
24 Material is returned or destroyed, the Receiving Party must submit a written certification to
25 the Producing Party (and, if not the same person or entity, to the Designating Party) by the
26 60 day deadline that (1) identifies (by category, where appropriate) all the Protected
27 Material that was returned or destroyed and (2) affirms that the Receiving Party has not
28 retained any copies, abstracts, compilations, summaries or any other format reproducing or
                                                     11
                                      STIPULATED PROTECTIVE ORDER
                                       CASE NO. 2:22-CV-02306-SPG-KS
  Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 13 of 16 Page ID #:430



 1 capturing any of the Protected Material. Notwithstanding this provision, Counsel are
 2 entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and
 3 hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 4 reports, attorney work product, and consultant and expert work product, even if such
 5 materials contain Protected Material. Any such archival copies that contain or constitute
 6 Protected Material remain subject to this Protective Order as set forth in Section 4
 7 (DURATION).
 8           14.   Any violation of this Order may be punished by any and all appropriate
 9 measures including, without limitation, contempt proceedings and/or monetary sanctions.
10
11 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
12
13       Dated: October 13, 2022                      LAW OFFICE OF TODD M.
14                                                    FRIEDMAN, PC

15                                                    By: /s/    Adrian Bacon
16                                                               Adrian Bacon

17                                                    Attorneys for Plaintiffs
18
19       Dated: October 13, 2022                      JENNER & BLOCK LLP
20
                                                      By: /s/     Alexander M. Smith1
21                                                                Alexander M. Smith
22
                                                      Attorneys for Defendant
23                                                    Burt’s Bees, Inc.
24
25
26
     1
27   Pursuant to Local Rule 5-4.34(a)(2)(i), I, Alexander M. Smith, attest that all other
   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s content
28 and have authorized the filing.
                                                    12
                                     STIPULATED PROTECTIVE ORDER
                                      CASE NO. 2:22-CV-02306-SPG-KS
 Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 14 of 16 Page ID #:431



 1 GOOD CAUSE SHOWN, IT IS SO ORDERED:
 2
 3
 4   Dated: October 14, 2022                    By:
 5                                                    The Honorable Karen L. Stevenson
                                                      United States Magistrate Judge
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              13
                               STIPULATED PROTECTIVE ORDER
                                CASE NO. 2:22-CV-02306-SPG-KS
  Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 15 of 16 Page ID #:432



 1                                           EXHIBIT A
 2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3
 4         I,   _____________________________            [print   or    type    full   name],    of
 5 __________________________________________________ [print or type full address],
 6 declare under penalty of perjury that I have read in its entirety and understand the Stipulated
 7 Protective Order that was issued by the United States District Court for the Central District
 8 of California on ___________________ [date] in the case of Bruno v. Burt’s Bees, Inc.,
 9 Case No. 2:22-cv-2306-SPG-KS.
10         I agree to comply with and to be bound by all the terms of this Stipulated Protective
11 Order and I understand and acknowledge that failure to so comply could expose me to
12 sanctions and punishment in the nature of contempt.
13         I solemnly promise that I will not disclose in any manner any information or item
14 that is subject to this Stipulated Protective Order to any person or entity except in strict
15 compliance with the provisions of this Order.
16         I further agree to submit to the jurisdiction of the United States District Court for the
17 Central District of California for the purpose of enforcing the terms of this Stipulated
18 Protective Order, even if such enforcement proceedings occur after termination of this
19 action.
20         I hereby appoint __________________________ [print or type full name] of
21 _______________________________________ [print or type full address and telephone
22 number] as my California agent for service of process in connection with this action or any
23 proceedings related to enforcement of this Stipulated Protective Order.
24
25
26
27
28
                                                    14
                                     STIPULATED PROTECTIVE ORDER
                                      CASE NO. 2:22-CV-02306-SPG-KS
 Case 2:22-cv-02306-SPG-KS Document 38 Filed 10/14/22 Page 16 of 16 Page ID #:433



 1       Date: ______________________________________
 2
 3       City and State where sworn and signed: _________________________________
 4
 5       Printed name: _______________________________
 6
 7       Signature: __________________________________
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              15
                               STIPULATED PROTECTIVE ORDER
                                CASE NO. 2:22-CV-02306-SPG-KS
